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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

June 2014 Grand Jury

UNITED STATES OF AMERICA, SA CR No. 14-131 (B)
Plaintiff, SECOND
| SUPERSEDING
v. INDICTMENT
SU BIN, [18 U.S.C. S§ 1030(a) (2) (Cc),
aka “Stephen Su,” (c) (2) (B) (i)-(iii), $§ 1030(a) (4),
aka “Stephen Subin,” (c) (3) (A), §§ 1030(b),
aka “Steven Subin,” (c) (2) (B) (i)-(1ii), (c) (3) (A):
Unauthorized Computer Access; 18
Defendant. U.S.C. § 371: Conspiracy; 22
U.S.C. §§ 2778(b) (2), (c), 22
C.F.R. §$§ 121.1, 123.1, ©
127.1(a) (1), 127.1(a) (3),
127.1 (a) (4), 127.1(d), 127.1 (e):
Arms Export Control Act; 18 U.S.C.
§ 1832 (a) (5): Conspiracy to Commit
Theft of Trade Secrets; 18 U.S.C.
§ 2(a): Aiding and Abetting]

 

 

 

The Grand Jury charges:

INTRODUCTORY ALLEGATIONS
At all times relevant to this Indictment:
1. Defendant SU BIN, also known as (“aka”) “Stephen Su,” aka
“Stephen Subin,” aka “Steven Subin” (“defendant SU”), was a citizen

of the People’s Republic of China (hereinafter “China”).

 

 

 
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2. Unindicted Co-conspirator 1 was a citizen of China and
resided in China.

3. Unindicted Co-conspirator 2 was a citizen of China and
resided in China.

4. Defendant SU, Unindicted Co-conspirator 1, and Unindicted
Co-conspirator 2 e-mailed each other both in Chinese and English.

5. Between in or about October 2008 and in or about May 2014,
defendant SU traveled to the United States multiple times, including
specifically:

a. between on or about January 13, 2010, and on or about

January 24, 2010;

b. between on or about February 11, 2010, and on or about

February 21, 2010;

Cc. between on or about May 26, 2010, and on or about June

8, 2010;

d. between on or about June 20, 2010, and on or about

June 27, 2010;

e. between on or about September 8, 2010, and on or about

September 11, 2010;

f. between on or about December 18, 2010, and on or about

December 28, 2010;

g. between on or about June 22, 2011, and on or about

June 30, 2011;

h. between on or about September 28, 2012, and on or

about October 3, 2012;

1. between in or about October 2012 and on or about

November 3, 2012; and,

 

 

 

 
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j. between on or about December 31, 2012, and on or about
January 2, 2013.

6. The Boeing Company (hereinafter “Boeing”), headquartered in
Chicago, Illinois, was a company with offices throughout the United
States that developed and sold military and commercial aircraft,
among other goods; technologies; and related support services:

Boeing had facilities in many locations, including Seal Beach and
Long Beach, California. The goods and technologies Boeing sold to
its customers were sold and shipped, and were intended to be sold and
shipped, in interstate and foreign commerce.

7. One of the aircraft models that Boeing manufactured was the
C-17 military transport aircraft (“the C-17”), including variants of
the C-17, which was manufactured in Los Angeles County, California,
located in the Central District of California. The C-17 was
developed over multiple years and produced by Boeing and its
predecessor and subcontractors pursuant to contracts with the United
States Air Force at a cost of billions of dollars. Developing and
producing the C-17 required the use of trade secrets and the use of
export-controlled technical data. Boeing maintained multiple
computer servers containing files relating to the C-17, including
servers in Orange County, California, containing detailed files
necessary to make the component parts of the C-17.

8. The F-35 “Lightning” was a fifth~generation fighter jet
aircraft capable of supersonic speed and equipped with “stealth”
capabilities that allowed it to evade radar (“the F-35”). The F-35
was developed over multiple years by multiple companies performing
contracts with the United States Department of Defense (“defense
contractors”) in the United States and other countries at a cost of

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billions of dollars. Developing and producing the F-35 required the
use of those defense contractors’ trade secrets and the use of
export-controlled technical data. Variants of the aircraft were made
for different services of different countries’ armed forces.

9. The F-22 “Raptor” was a fifth-generation fighter jet
aircraft capable of supersonic speed and equipped with “stealth”
Capabilities that allowed it to evade radar (“the F-22”). The F-22
was developed over multiple years by defense contractors in the
United States at a cost of billions of dollars. Developing and
producing the F-22 required the use of those defense contractors’
trade secrets and the use of export-controlled technical data.

10. In developing, testing, producing, and maintaining the C-
17, F-35, F-22, and other military technology, defense contractors
generated documents, files, and information, including computer
files, that contained trade sécrets that were the product of research
and development and that were proprietary information belonging to
those defense contractors. Those trade secrets related to various
facets of the aircraft, its development, design, testing, production,
components, and ongoing maintenance. Those trade secrets also
related to the ways in which those defense contractors competed to
win government contracts to build and service military aircraft and
other military technology. Those trade secrets existed in a single
document and record at times, and at other times as compilations and
collections of documents and files that related to the entire
aircraft and to portions or components of the aircraft.

11. The Arms Export Control Act, Title 22, United States Code,
Section 2778 (“AECA”), authorized the President of the United’ States
to control the export of “defense articles” and “technical data”

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related to such defense articles by designating those items and that
data as defense articles and by promulgating regulations for the
import and export of such articles and data.

12. Defense articles and technical data subject to such
licensing requirements were designated on the United States Munitions
List (“USML”). Those designations were made by the United States
Department of State (“Department of State”) with the concurrence of
the United States Department of Defense (“Department of Defense”).
(22 U.S.C. § 2778(a) (1); 22 C.F.R. § 120.2.)

13. Category VIII of the USML, among others, included aircraft
and aircraft-related equipment. (22 C.F.R. § 121.1.)

14. The AECA and its attendant regulations, the International
Traffic in Arms Regulations, Title 22, Code of Federal Regulations,
Parts 120-130 (“ITAR”), required a person to apply for and obtain an
export license from the Directorate of Defense Trade Controls
(“DDTC”) of the Department of State before exporting from the United
States defense articles or related technical data by any means,
including by disclosing technical data on the USML to a foreign
person. (22 U.S.C. § 2778 (b) (2); 22 C.F.R. §§ 120.1, 120.10,
120.17.)

15. At no time did defendant SU apply for, receive, or possess”
a license to export defense articles or technical data from the
United States.

16. One of the files stored on Boeing’s computer servers was a
file titled “1lc-17a-1-2.pdf,” which was a Supplemental Flight Manual
titled “MISSION COMPUTER” that related to the C-17. The 1lc-17a-1-2
Supplemental Flight Manual contained military technical data related
to the C-17, was designated on the USML in category VIII(i) of the

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USML, required a license to be exported from the United States to any
other country, and contained a legal warning at the beginning of the
document that its export was restricted.

17. The factual allegations in paragraphs 1 through 16 are
incorporated in all counts of this Indictment by reference and are
re-alleged as though fully set forth therein.

18. In the course of their conduct, defendant SU, Unindicted
Co-conspirator 1, and Unindicted Co-conspirator 2 committed the
following acts on or about the following dates:

19. on October 23, 2008, Unindicted Co-conspirator 1 wrote an
e-mail to another person asking: “Hey there, Do you sell the’
Poisonivy Program? How much do you sell it for? i wish to buy one
which can not be detect [sic] and killed by the Anti-Virus software.”

20. On July 22, 2009, defendant SU forwarded an e-mail that he
had received from Unindicted Co-conspirator 1. Attached to that
e-mail was a draft contract for the purchase of a “System for
Unidirectional Secure Delivery of Files Over the Internet,” from an
identified company located in China that advertised its expertise in
the fields of computer network attack and defense and communication
security.

21. On July 23, 2009, defendant SU caused one of his company’s
employees to e-mail defendant SU and Unindicted Co-conspirator 1 a
signed version of the contract described in paragraph 20 that
defendant SU had executed on behalf of his company.

22. On December 14, 2009, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 with a subject line of “Target.”
Attached to the e-mail was a file containing the names and positions
of U.S. executives as well as a website and telephone number.

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23. On December 17, 2009, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 and copied Unindicted Co-conspirator 2
with a subject line of “RE: Target.” In that e-mail defendant SU
identified e-mail addresses, a website, and four individuals
associated with a European company.

24. On January 13, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail with a subject line of “C-17,”% attached a file
titled “Desktop’22.rar,” and wrote that he would send defendant su
the password for the file.

25. On January 14, 2010, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 with a subject line of “RE: C-17,7°
attached a file titled “Desktop 22.rar,” and asked Unindicted Co-
conspirator 1 to give defendant SU the password for the file.

26. On January 21, 2010, Unindicted Co-conspirator 1 sent
defendant SU a file titled “C-17_ 2.rar” and asked defendant SU to
write Unindicted Co-conspirator 1 a document about which files were
important, which ones were not important, and what they were.

27. On January 22, 2010, Unindicted Co-conspirator 1 sent an e-
mail to defendant SU with a subject line of “Re: C-17 _2,” and wrote
that 3.txt was the subdirectory and document of 3-jianua.txt, added
that some directory trees contained random codes, and reminded
defendant SU to read 3.txt.

28. ‘On January 23, 2010, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 with a subject line of “RE: C-17 2,”
attached a document titled “Appendix 3.rar,” and wrote that, judging
from its name, the document looked fine.

29. On January 23, 2010, Unindicted Co-conspirator 1 sent an e-
mail to defendant SU with a subject line of “Re: C-17 _2,” and wrote

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that 3.txt was the list of documents, added that defendant SU should
pay attention to it, and noted that there was some gibberish due to
incorrect encoding.

30. On January 25, 2010, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 with a subject line of “Re: C-17 _2” and
attached a document titled “Appendix-3.docx,” which was a list
approximately 1,467 pages long of files and folders related to the C-
17, with some files and folders highlighted in yellow. In the e-mail
defendant SU wrote that the useful ones were marked in yellow and
that they should be the computer documents of a person who used an
airplane as opposed to a designer.

31. On February 2, 2010, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 with a subject line of “Document No. 17,7
and defendant SU attached: to this e-mail a compressed file, the
contents of which included a file with the characters “C-17” in the
filename.

32. On February 4, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail attaching a file titled “System
20100206.rar.” Compressed within the -rar file was a file with the
characters “C-17” in the filename.

33. On February 7, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail attaching a file titled “20100207. rar.”
Compressed within the .rar file was a document with the characters
“C-17” in the filename.

(34. On February 28, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail in which defendant SU wrote that the value

was decent for a document related to a specific military aircraft,

 

 

 

 
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and that it was information needed by an identified state-owned
aircraft company in China, but that the company was too stingy.

35. On March 1, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail and wrote only “17 keywords” in the body of
the e-mail.

36. On March 1, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail and wrote “17’s LIST. Read Carefully.”
Unindicted Co-conspirator 1 attached a file to that e-mail titled
“17.rar.”

37. On March 3, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail and attached a file titled “17.rar.”
Compressed within the .rar file were 11 .txt files, whose file names
were 17/1.txt through 17/10.txt and an additional file titled
17/tools.txt. — |

38. On March 4, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail attaching a file titled “blueprint.rar.”

39. On March 7, 2010, Unindicted Co-conspirator 1 sent an e-
mail to another co-conspirator attaching several reports about the
expenses and activities of certain Chinese entities. One report
described how one of the entities identified targets and sought

foreign technologies to advance research and development cost-

effectively.

‘40. On March 19, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail with a subject line of “View picture” and
wrote in the body of the e-mail “Haha.” Unindicted Co-conspirator 1
attached to that e-mail an image of a list of seven filenames that

had English characters followed by Chinese characters describing

 

 

 

 
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their contents, six of which files contained “c-17” or “cl7” in the
hame of the file.

41. On April 4, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail with a subject line of “22” and wrote “22” in
the body of the e-mail. Attached to the e-mail was a document titled
“22.rar.” . .

42. On April 4, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail with a subject line of “RE: 22.”

43. On April 4, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail with a subject line of “RE: 22” and
instructed Unindicted Co-conspirator 1 to take a look at the file
“avel\Training\AVEL Familiarization Course 7-28-08 “ppt.”

44, On April 4, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail with a subject line of “Re: Reply: 22” and
attached an image file named “IMG 0367.JPG.” That image showed a
computer monitor displaying a presentation related to training on an
F-22 component used in launching missiles, which was marked
proprietary and with the warning, “Proprietary Information Source
Selection Sensitive. This Data is Covered by IATR [sic] 22 CFR 120-
130.”

45. On April 4, .2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail and asked defendant SU about providing a
sample of the data they had acquired relating to the C-17.

46. On April 5, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail concerning the sale of data and expenses.

| 47. On April 9, 2010, Unindicted Co-conspirator 1 sent
defendant SU an e-mail and wrote that the sample of C-17 data was not
intended for sale, but rather for use as a bargaining chip.

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48. On August 27, 2010, defendant SU sent Unindicted Co-
conspirator 1 an e-mail attaching a .rar file.

49. On October 24, 2010, defendant SU. sent Unindicted Co-
conspirator 1 an e-mail. Attached to that e-mail was a .rar file,
and compressed within the .rar were five documents containing
filenames that corresponded to military and civilian aircraft. These
documents listed some files and folders that were highlighted in
yellow. |

50. On December 27, 2010, Unindicted Co-conspirator 1 e-mailed
to Unindicted Co-conspirator 2 a report that described meeting the
objective of an identified Chinese company to acquire U.S. military
technology but sought additional funds to complete the “C-17 Special
Project.”

Sl. On August 11, 2011, Unindicted Co-conspirator 1 sent an e-
mail to defendant SU that included a screenshot image of a document
and asked defendant SU what the document was.

52. On November 10, 2011, defendant SU drafted and modified a
report that discussed how an identified Chinese entity had acquired
research and development information that related to a specific
military project that was subject to export restrictions and was
restricted by the U.S. Department of Defense, explained why that
information was valuable, and sought support to complete its work in
acquiring more information.

53. On November 10, 2011, defendant SU sent an e-mail to
Unindicted Co-conspirator 1 and Unindicted Co-conspirator 2.
Attached to that e-mail was the report described in paragraph 52.

54. On December 8, 2011, Unindicted Co-conspirator 2 sent an e-
mail to Unindicted Co-conspirator 1 with a list of e-mail addresses,

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names, and affiliations or roles in U.S. and other governments as
well as how the e-mail addresses were compromised. |

55. On February 26, 2012, Unindicted Co-conspirator 1 sent
Unindicted Co-conspirator 2 an e-mail attaching a list of thirty-two
U.S. military projects and corresponding amounts of data.

56. On March 23, 2012, defendant SU modified a document related
to a flight test plan for the F-35 aircraft with different portions
written in English and in Chinese that bore notations that it was
proprietary information and subject to export restrictions.

57. On May 3, 2012, defendant SU sent an e-mail to Unindicted
Co-conspirator 1 with a subject line of “Plan.” Attached to that e-
mail was the document described in paragraph 56. |

58. On August 6, 2012, Unindicted Co-conspirator 1 drafted and
edited a document that described the acquisition of 65 gigabytes of
data in 630,000 files and 85,000 file folders that included scans,
drawings, and technical details related to the C-17 obtained by
gaining access to the Boeing network in January 2010, and noted that
the C-17 had been developed at a cost of $3.4 billion in research and
development expenses. .

59. On August 13, 2012, Unindicted Co-conspirator 1 sent
Unindicted Co-conspirator 2 an e-mail with a subject line of “cl17.”
Attached to that e-mail was the document described in paragraph 58.

60. On February 21, 2013, Unindicted Co-conspirator 1 sent an.
e-mail to Unindicted Co-conspirator 2 that attached a report. The
attached report described how the entity with which they. were
affiliated in China used servers in multiple countries, transferred
data to Hong Kong or Macau, and then carried the data to China by
hand. The report described how the entity focused in the United

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States on military technologies, among other topics, and had acquired
data related to the F-35 and C-17.

61. On May 21, 2014, Unindicted Co-conspirator 1 forwarded an
e-mail to a co-conspirator attaching a report describing how a
company had been targeted, how its network had been infiltrated, how
the computer data stored at the company had been downloaded and
transmitted to Macau after going through jumps overseas and before
being physically delivered, and how future computer intrusions of the
company in a second phase were being designed to address security

measures that had prevented acquisition of the information they

sought.

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COUNT ONE
[18 U.S.C. §§ 1030(b), (c) (2) (B) (i)-(iii), (c) (3) (A)]

AL OBJECTS OF THE CONSPIRACY

62. Beginning in or about October 2008, and continuing up to
and including at least in or about May 2014, in Orange County, within
the Central District of California, and elsewhere, including outside
the United States, defendant SU BIN, also known as (“aka”) “stephen
su,” aka “Stephen Subin,” aka “Steven Subin” (“defendant SU”),
Unindicted Co-conspirator 1, Unindicted Co-conspirator 2, and others
known and unknown to the Grand Jury, knowingly combined, conspired,
and agreed with each other knowingly and intentionally to commit
offenses against the United States, namely:

a. To intentionally access a computer without
authorization, and exceed authorized access, and thereby obtain
information from a protected computer, as that term is defined at
Title 18, United States Code, Section 1030 (e) (2), (1) where the
offense was committed for purposes of commercial advantage and
private financial gain; (2) where the offense was committed in
furtherance of a criminal and tortious act in violation of the

Constitution and the laws of the United States, specifically,

(a) conspiring to export defense articles, in violation of Title 18,

United States Code, Section 371, and Title 22, United States Code,
Sections 2778(b) (2) and (c), and Title 22, Code of Federal
Regulations, Sections 121.1, 123.1, 127.1(a) (1), 127.1 (a) (3),

127.1 (a) (4), 127.1(d), and 127.1(e), as alleged in Count Four of this
Indictment; and (b) conspiring to commit theft of trade secrets, in
violation of Title 18, United States Code, Section 1832 (a) (5), as
alleged in Count Six of this Indictment; and (3) where the value of

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the information obtained and sought exceeded $5,000, all in violation
of Title 18, United States Code, Sections 1030 (a) (2) (C) and
(c) (2) (B) (i)-(4i1); and

b. To knowingly, and with-intent to defraud, access a
protected computer, as that term is defined at Title 18, United
States Code, Section 1030(e) (2), without authorization, and exceed:
authorized access, and by means of such conduct further the intended
fraud and obtain a thing of value, specifically, information related
to military and aviation technology, in violation of Title 18, United
States Code, Sections 1030(a) (4) and (c) (3) (A).
B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

63. The objects of the conspiracy were to be accomplished in
substance as follows:

64. Defendant SU would e-mail Unindicted Co-Conspirators 1 and
2 with guidance on what persons, companies, and technologies to
target for unlawful computer intrusions.

65. Unindicted Co-Conspirator 1 would e-mail defendant SU
information and files showing defendant SU the information and files
to which Unindicted Co-conspirator 1 had gained access through
unlawful computer intrusions. Defendant SU would then provide
direction to Unindicted Co-conspirator 1 as to which information and
files Unindicted Co-conspirator 1 should steal and obtain via
unlawful computer intrusions. After gaining unauthorized access into
various protected computers, Unindicted Co-conspirator 1 would then
steal, copy, download, transmit, possess, and send the information:

and files that defendant SU had directed him to obtain.

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66. Defendant SU, Unindicted Co-conspirator 1, and Unindicted
Co-conspirator 2 would then write, revise, and circulate reports that
described the information they and others had obtained by engaging in
such computer hacking, the value of that information, the
Significance of the information in developing similar technologies,
their progress, and their need to continue their computer intrusions.

67. Defendant SU and Unindicted Co-conspirator 1 would
communicate about selling some of the information that they had
obtained as a result of their unlawful computer intrusions.

Cc. OVERT ACTS

68. On or about the relevant dates listed herein, in
furtherance of the conspiracy and to accomplish the objects of the
conspiracy, defendant SU, Unindicted Co-conspirator 1, Unindicted Co-
conspirator 2, and others known and unknown to the Grand Jury,
committed various overt acts within the Central District of
California and elsewhere. These overt acts included sending e-mails,
drafting and revising reports and other documents, and other overt
acts, including but not limited to the allegations contained in
paragraphs 19 through 61 of the Introductory Allegations, which are

incorporated herein by reference.

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COUNT TWO
[18 U.S.C. §§ 1030(a) (2) (C), (b), (c) (2) (B) (4) -(4ii);
| 18 U.S.C. § 2(a)]

69. Between on or about January 1, 2010 and on or about April
30, 2010, in Orange County, within the Central District of
California, and elsewhere, including outside the United States,
defendant SU BIN, also known as (“aka”) “Stephen Su,” aka “Stephen
Subin,” aka “Steven Subin” (“defendant SU”) intentionally accessed
and attempted to access a computer without authorization, and
exceeded authorized access, and aided and abetted Unindicted Co-
conspirator 1 and other persons known and unknown to the Grand Jury
in doing so, and thereby obtained information and attempted to obtain
information, including information related to the C-17, from a
protected computer, as that term is defined at Title 18, United
States Code, Section 1030(e) (2). |

70. The offense was committed by defendant SU (1) for purposes
of commercial advantage and private financial gain; (2) in furtherance
of a criminal and tortious act in violation of the Constitution and
the laws of the United States, specifically, (a) conspiring to export
defense articles, in violation of Title 18, United States Code,
Section 371, and Title 22, United States Code, Sections 2778(b) (2) and
(c), and Title 22, Code of Federal Regulations, Sections 121.1, 123.1,
127.1(a) (1), 127.1(a) (3), 127.1(a) (4), 127.1(d), and 127.1(e), as
alleged in Count Four of this Indictment; and (b) conspiring to commit
theft of trade secrets, in violation of Title 18, United States Code,
Section 1832(a) (5), as alleged in Count Six of this Indictment; and
(3) the value of the information obtained and that defendant SU
attempted to obtain exceeded $5,000.

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COUNT THREE

[18 U.S.C.*§§ 1030(a) (4), (b), (c) (3)(A); 18 U.S.C. § 2 (a) ]

71. Between on or about January 1, 2010 and on or about April
30, 2010, in Orange County, within the Central District of
California, and elsewhere, including outside the United States,
defendant SU BIN, also known as (“aka”) “Stephen Su,” aka “Stephen
Subin,” aka “Steven Subin” (“defendant SU”) knowingly and with intent
to defraud accessed and attempted to access a protected computer, as
that term is defined at Title 18, United States Code, Section
1030 (e) (2), without authorization, and exceeded authorized access,
and aided and abetted Unindicted Co-conspirator 1 and other persons
known and unknown to the Grand Jury in doing so, and by means of such
conduct furthered defendant SU’s intended fraud and obtained a thing
of value, including specifically information related to military and

other technology and including specifically information related to

the C-17.

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COUNT FOUR
[18 U.S.C. § 371]
A. OBJECT OF THE CONSPIRACY .

72. Beginning in or about October 2008, and continuing up to
and including at least in or about May 2014, in Orange County, within
the Central District of California, and elsewhere, including outside
the United States, defendant SU BIN, also known as (“aka”) “Stephen
Su,” aka “Stephen Subin,” aka “Steven Subin” (“defendant SU”),
Unindicted Co-conspirator 1, Unindicted Co-conspirator 2, and others
known and unknown to the Grand Jury, knowingly combined, conspired,
and agreed with each other knowingly and intentionally to commit an
offense against the United states, namely:

a. To willfully export and cause to be exported from the
United States items designated as defense articles on the USML,
namely technical data, including by means of disclosing such
technical data to foreign nationals, without having first obtained
from the DDTC the required export license or authorization for such
export, in violation of Title 22, United States Code, Sections
2778(b) and (c), and Title 22, Code of Federal Regulations, Sections

121.1, 123.1, 127.1 (a) (1), 127.1 (a) (3), 127.1 (a) (4), 127.1(d), and

 

127.1(e).
B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
ACCOMPLISHED

73. The object of the conspiracy was to be accomplished in

‘substance as follows:

74. Defendant SU would e-mail Unindicted Co-Conspirators 1 and

2 with guidance on what persons, companies, and technologies to

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target in order to obtain export-—controlled technical data and other
information through unlawful computer intrusions.

75. Unindicted Co-Conspirator 1 would e-mail defendant su
information and files showing defendant SU the export-controlled
technical data and other information and files to which Unindicted
Co-conspirator 1 had gained access through unlawful computer
intrusions. Defendant SU would then provide direction to Unindicted
Co-conspirator 1 as to which information and files Unindicted Co-
conspirator -1 should steal and obtain via unlawful computer
intrusions. After gaining unauthorized access into various protected
computers, Unindicted Co-conspirator 1 would then steal, copy,
download, transmit, possess, and send the information and files that
defendant SU had directed him to obtain, without having obtained
permission or authorization to export technical data out of the
United States or to disclose it to foreign persons.

76. Defendant SU, Unindicted Co-conspirator 1, and Unindicted
Co-conspirator 2 would then write, revise, and circulate reports that
described the export-controlled technical data and other information
they and others had obtained by engaging in such computer hacking,
the value of that information, the significance of the information in
developing similar technologies, their progress, and their need to
continue their computer intrusions. The reports would also explain
that the information was protected by U.S. export restrictions.

Cc. OVERT ACTS

77. On or about the relevant dates listed herein, in
furtherance of the conspiracy and to accomplish the object of the
conspiracy, defendant SU, Unindicted Co-conspirator 1, Unindicted Co-
conspirator 2, and others known and unknown to the Grand Jury,

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committed various overt acts within the Central District of
California and elsewhere. Those overt acts included sending e-mails,
drafting and revising reports and other documents, and other overt
acts, and include, but are not limited to, the allegations contained
in paragraphs 30, 40, 42, 43, 44, 50, 52, 53, 56, 57, and 60 of the

Introductory Allegations, which are incorporated herein by reference.

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COUNT FIVE
[22 U.S.C. §§ 2778(b) (2), (c);
22 C.F.R. §§ 121.1, 123.1, 127.1(a) (1), 127.1 (a) (3), 127.1(a) (4),
| 127.1(d), 127.1(e); 18 U.S.C. § 2(a)]
78. Between on or about January 1, 2010 and on or about April
30, 2010, in Orange County, within the Central District of
California, and elsewhere, including outside the United States,
defendant SU BIN, also known as (“aka”) “Stephen Su,” aka “Stephen
Subin,” aka “Steven Subin” (“defendant SU”), Unindicted Co-
conspirator 1, Unindicted Co-conspirator 2, and others known and
unknown to the Grand Jury, knowingly and willfully exported, and
attempted to export, and aided and abetted Unindicted Co-conspirator
1 and other persons known and unknown to the Grand Jury in exporting
defense articles and technical data related to the C-17 from the
United States without first having obtained from the DDTC a license
or authorization to do so. Defendant SU did so by sending the
defense articles and technical data from the United States in any
manner, including by transmitting them via the Internet and by
disclosing their contents to a foreign person, including himself,

defendant SU.

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COUNT SIX
[18 U.S.C. § 1832 (a) (5)]

A. OBJECTS OF THE CONSPIRACY

79. Beginning in or about October 2008, and continuing up to
and including at least in or about May 2014, in Orange County, within
the Central District of California, and elsewhere, including outside
the United States, defendant SU BIN, also known as (“aka”) “Stephen
Su,” aka “Stephen Subin,” aka “Steven Subin” (“defendant SU”),
Unindicted Co-conspirator 1, Unindicted Co-conspirator 2, and others
known and unknown to the Grand Jury, knowingly combined, conspired,
and agreed with each other knowingly and intentionally to commit
offenses against the United States, namely:

a. To knowingly steal and without authorization
appropriate, take, and conceal, and by fraud, artifice, and deception
obtain a trade secret that is related to and included in a product
that is produced for, used in, and placed in and intended for use in
interstate and foreign commerce, with the intent to convert the trade
secret to the economic benefit of someone other than the owner of the
trade secret, and intending and knowing that doing so would injure
any owner of that trade secret, in violation of Title 18, United
States Code, Section 1832 (a) (1);

b. To knowingly and without authorization copy,
duplicate, photograph, download, upload, replicate, transmit,
deliver, send, communicate, and convey a trade secret that is related
to and included in a product that is produced for, used in, and
placed in and intended for use in interstate and foreign commerce,
with the intent to convert the trade secret to the economic benefit
of someone other than the owner of the trade secret, and intending

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and knowing that doing so would injure any owner of that trade
secret, in violation of Title 18, United States Code, Section
1832 (a) (2); and

on To knowingly receive, buy, and possess a trade secret
that is related to and included in-a product that is produced for,
used in, and placed in and intended for use in interstate and foreign
commerce, knowing the same to have been stolen and appropriated,
obtained, and converted without authorization, with the intent to
convert. the trade secret, to the economic benefit of someone other
than the owner of the trade secret, and intending and knowing that
doing so would injure any owner of that trade secret, in violation of
Title 18, United States Code, Section 1832(a) (3).
B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

80. The objects of the conspiracy were to be accomplished in
substance as follows: |

81. Defendant SU would e-mail Unindicted Co-Conspirators 1 and
2 with guidance on what persons, companies, and technologies to
target for unlawful computer intrusions in order to obtain trade
secrets and other information, intending to convert such trade
secrets and other information to the economic benefit of persons and
entities other than their owners and intending and knowing that doing
so would injure the owners of the trade secrets and other
information.

82. Unindicted Co-Conspirator 1 would e-mail defendant SU
information and’ files showing defendant SU the trade secrets and
other information and files to which Unindicted Co-conspirator 1 had
gained access through unlawful computer intrusions. Defendant SU

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would then provide direction to Unindicted Co-conspirator 1 as to
which information and files, including which trade secrets,
Unindicted Co-conspirator 1 should steal and obtain via unlawful
computer intrusions... After gaining unauthorized access to various
protected computers, Unindicted Co-conspirator 1 would then steal,
copy, download, transmit, possess, and send the information and
files, including the trade secrets, that defendant SU had. directed
him to obtain. Defendant SU would then receive and possess the
information and files, including the unlawfully obtained trade
secrets, knowing they had been stolen and obtained without
authorization.

83. Defendant SU, Unindicted Co-conspirator 1, and Unindicted
Co~-conspirator 2 would then write, revise, and circulate reports that
described the trade secrets and other information they and others had
obtained by engaging in such computer hacking, the value of that
information, the significance of the information in developing
similar technologies, their progress, and their need to continue
their computer intrusions.

84. Defendant SU and Unindicted Co-conspirator 1 would
communicate about selling some of the trade secrets and other

information that they had obtained as a result of their unlawful

computer intrusions.

Cc. OVERT ACTS

85. On or about the relevant dates listed herein, in
‘furtherance of the conspiracy and to accomplish the object of the
conspiracy, defendant SU, Unindicted Co-conspirator 1, Unindicted Co-
conspirator 2, and others known and unknown to the Grand Jury,
committed various overt acts within the Central District:of

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California and elsewhere. Those overt acts included sending e-mails,

drafting and revising reports and other documents, and other overt

}acts, and include, but are not limited to, the allegations contained

in paragraphs 20, 34, 43, 44, 45, 46, 47, 49, 52, 53, 56, 57, 58, and
99 of the Introductory Allegations, which are incorporated herein by

reference.

A TRUE BILL

/s/
Foreperson

STEPHANIE YONEKURA
Acting United States Attorney

[AL Drapes

ROBERT E. DUGDALE
Assistant United States Attorney
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ANTHONY J. LEWIS

Assistant United States Attorney
National Security Section

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